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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA



Jocelyn Mammen,                                      Case No. 18-cv-0640 (WMW/BRT)

               Plaintiff,                    ORDER FOR DISMISSAL WITHOUT
                                             PREJUDICE OF DEFENDANT
v.                                           TARGET CORPORATION - LTD
                                             RESERVE BUY-OUT, PLAN/PLAN
Hartford Life & Accident                     ADMINISTRATOR
Insurance Company,
Target Corporation – LTD Reserve
Buy-Out, Plan/Plan Administrator,

               Defendants.


          Based upon the Stipulation for Dismissal (Dkt. 9), and all the files, records, and

 proceedings herein,

          IT IS HEREBY ORDERED that Defendant Target Corporation – LTD

 Reserve Buy-Out, Plan/Plan Administrator is dismissed without prejudice and with

 each party bearing its own costs and attorneys’ fees in connection with this matter.



 Dated:      May8, 2018                            s/Wilhelmina M. Wright
                                                   Wilhelmina M. Wright
                                                   United States District Judge
